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             EXHIBIT 20
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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS

 In re: PHARMACEUTICAL INDUSTRY                )
 AVERAGE WHOLESALE PRICE                       )
 LITIGATION                                    )   MDL No. 1456
                                               )   Civil Action No. 01-12257-PBS
                                               )
 THIS DOCUMENT RELATES TO:                     )   Hon. Patti B. Saris
                                               )
 United States of America, ex rel. Ven-a-      )
 Care of the Florida Keys, Inc. v. Abbott      )
 Laboratories, Inc.,                           )
 CIVIL ACTION NO. 06-CV-11337-PBS              )




Supplement to Mark G. Duggan, Ph.D. Report, January 23, 2009
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I. Summary of Revisions to Medicaid Analyses – The Removal of Ohio

       Following instructions from the United States in United States ex rel. Ven-A-Care of the

Florida Keys, Inc. v. Abbott Laboratories, Inc., I have removed the state of Ohio from the

Medicaid analyses in my June 19, 2008 report. As a result of this change, Tables 25, 27A, and

27B are revised as shown in the three Tables on the subsequent three pages. Specifically, the

Ohio entry in Table 25, which originally included results from 12 states, has been deleted.

Additionally, I no longer use the state of Ohio in my analyses for the remaining 38 states, and

thus the results in Tables 27A and 27B have also changed. The following table, which is a

revised version of the table on page 2 of my June 19, 2008 report, summarizes the effect of these

changes (with dollar amounts reported in millions and both claims and provider payments

reported in thousands):


                              Difference             Amount     Reference               Provider
   Category         Federal     State     Total       Paid       Table       Claims     Payments
   Medicaid          $64.7     $47.2     $111.9      $150.6        25         2875.1      484.7
Medicare DME         $11.1      $0.0     $11.1        $23.5        33         101.7        54.1
Medicare Part B1     $15.6      $0.0      $15.6       $68.0        43        4726.3       720.6
Medicare Part B2     $15.7      $0.0      $15.7       $94.2        44        5234.6      1002.2
     Total          $107.1     $47.2     $154.3      $336.3         -        12937.7     2261.6

The total federal DIFFERENCE in the second column declines from $108.2 million to $107.1

million. Similarly, the total number of provider payments with a DIFFERENCE greater than zero

declines from 2.299 million to 2.262 million while the total number of claims with a

DIFFERENCE greater than zero declines from 13.210 million to 12.938 million.



II. Summary of Abbott’s CHIP Data

       The attached tables provide a summary of data from Abbott’s CHIP (Client Home

Infusion Program) system. From 1990 to 2000, Abbott ran its own infusion pharmacy, where it


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supplied pharmaceutical products directly to patients. Abbott billed third party payers including

Medicaid and Medicare for these products using the CHIP system. Abbott also used the CHIP

system to bill third party payers, including Medicare and Medicaid, on behalf of other health care

providers, with this service continuing through at least the fourth quarter of 2001. All of these

tables are based on data that was supplied by Abbott.1

         Table A provides an overview of all sales recorded in the CHIP system. The number of

line items is considerably larger than the number of claims because each claim could include

many products. The first several columns summarize transactions with both Abbott clients and

other providers’ clients, while the latter several columns consider only clients of Abbott’s

pharmacy clients.

         As the first several columns show, the total number of claims, the number of line items,

the total amount billed, and the total amount paid steadily increased until late 1998, and then

declined after that. The total amount paid during the period was $661.897 million, with

$158.336 million (24 percent of the total) of this accounted for by customers of Abbott’s

pharmacy. The share of sales accounted for by Abbott’s pharmacy, which exceeded 40 percent in

every quarter through 1993Q2, declined steadily during the last several years.

         Tables B and C repeat this exercise while restricting attention only to Medicaid and

Medicare claims, respectively, that have at least one line item for one of the products listed in the

United States’ Complaint. Payments from Medicaid were equal to $23.103 million for all clients

and to $5.342 million for customers of Abbott’s pharmacy. Payments from Medicare were equal

to $22.653 million, with Abbott pharmacy clients accounting for $5.675 million of that amount.



1
  There was a total of 104 gigabytes of data provided by Abbott. An examination of the data revealed that all of it
represented backups of transactions and lookup tables and thus duplicate observations, to the extent that they could
be identified, were dropped so as to avoid double-counting.


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       Tables D and E provide similar information while restricting attention to line items for

those pharmaceutical products included in the United States’ Complaint against Abbott. As

shown in the first of these two tables, the total amount paid by Medicaid across all customers

was $419,215. Clients of Abbott’s pharmacy accounted for $110,860 in that spending and for

6,160 line items for Complaint products. The total amount paid by Medicare across all customers

was $2.497 million. Clients of Abbott’s pharmacy accounted for $269,639 of that spending and

for 8,484 line items for Complaint products.

       Table F displays the average amount billed versus the average AWP of Complaint

products in the CHIP system. As the table shows, the billed amount is typically substantially

greater than the AWP for Complaint products.



_________________________
Mark G. Duggan, Ph.D.
January 23, 2009




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                                    Table 25: Medicaid Summary for Top Nine States, Louisiana (#11), and Wisconsin (#16)
  State            Source        Time Period    # Clms w/DIFF>0      # Claims       Aggregate DIFF     Total MCD Paid      Federal DIFF   # Pharm. Payments

  Illinois      State Claims    1991Q2-2001Q4       519,450          534,183          $12,029,039       $16,527,505        $6,014,519          58,631

  Florida       State Claims    1993Q4-2001Q4       278,623          287,959          $11,700,280       $15,561,037        $6,532,311          67,076
  Florida       SDUD Data       1991Q1-1993Q3       34,802           39,861            $939,551         $1,379,301          $514,820              -

California      State Claims    1994Q2-2001Q4       267,167          280,994          $7,044,315         $9,172,917        $3,585,421          56,269

New Jersey      State Claims    1992Q1-2001Q4       124,513          126,067          $7,191,020         $8,453,921        $3,595,511          11,446
New Jersey         SDUD         1991Q1-1991Q4       12,374           13,798            $727,856           $915,392          $363,928              -

New York        State Claims    1993Q1-2001Q4       108,386          120,315          $6,877,666         $8,921,858         $3,438,833         38,184
New York           SDUD         1991Q1-1992Q4        5,263            5,791            $149,690           $192,898           $74,845              -

 Indiana        SMRF / MAX      1992Q1-2001Q4       175,577          182,042          $11,214,412       $14,812,193         $6,936,732         28,880
 Indiana          SDUD          1991Q1-1991Q4        8,572            9,044            $137,297          $249,529            $86,826              -

 Kentucky       State Claims    1995Q1-2001Q4       96,452           100,007          $4,737,344         $6,190,786         $3,331,076         16,044
 Kentucky       SMRF / MAX      1992Q1-1994Q4       17,559           20,725            $545,830           $910,013           $390,572           3,589
 Kentucky          SDUD         1991Q1-1991Q4        2,961            3,401             $77,795           $128,833            $56,759             -

 Missouri       State Claims    1998Q1-2001Q4       70,680            75,389          $3,448,247         $4,263,226         $2,087,491          8,304
 Missouri       SMRF / MAX      1992Q1-1997Q4       61,884            66,684          $2,459,315         $3,184,492         $1,480,343          8,418
 Missouri          SDUD         1991Q1-1991Q4        1,568             2,136           $35,736            $63,533            $21,377              -

 Michigan       State Claims    2000Q4-2001Q4       14,389            15,986           $537,789           $792,346           $300,440           4,479
 Michigan       SMRF / MAX      1994Q1-2000Q3       73,749            81,219          $3,109,367         $4,222,782         $1,703,230         14,845
 Michigan          SDUD         1991Q1-1993Q4        6,844             9,722            $66,162           $157,114            $36,565             -

Louisiana       State Claims    1995Q1-2001Q4       73,705            76,520          $2,970,914         $3,834,631        $2,102,350           7,211
Louisiana          SDUD         1991Q1-1994Q4        8,417             9,408           $257,830           $407,099          $190,429              -

Wisconsin       State Claims    1993Q2-2001Q4       63,647            70,145          $1,683,017         $2,440,008         $998,395           13,988
Wisconsin          SDUD         1991Q1-1993Q1        2,976             3,248           $73,335            $105,891           $44,110              -

   Total for First 11 States      1991-2001        2,029,558         2,134,644        $78,013,807       $102,887,305       $43,886,885         337,364


Total for Remaining 38 States                       845,533          894,567          $33,889,385       $47,701,979        $20,782,466         147,370


  Total for All 49 States                         2,875,091         3,029,211        $111,903,192      $150,589,284        $64,669,351        484,734
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                                               Table 27A: Medicaid Summary for States 10 through 30 (excluding LA and WI)
    State                  Source       Time Period     # Clms w/DIFF>0     # Claims       Aggregate DIFF    Total MCD Paid   Federal DIFF   # Pharm. Payments
North Carolina           SMRF / MAX     1999-2001           25,916           27,745          $1,948,443        $2,857,012     $1,221,323           4,785
North Carolina             SDUD         1991-1998           17,445           18,499          $1,144,755        $1,543,854      $734,245
   Georgia               SMRF / MAX     1993-2001           36,667           38,431          $2,446,058        $3,359,367     $1,489,405           2,381
   Georgia                 SDUD         1991-1992            181              202             $15,522           $22,313         $9,582
Pennsylvania             SMRF / MAX     1992-2001           46,854           50,006          $2,139,722        $2,957,576     $1,148,431          15,526
Pennsylvania               SDUD           1991                98              113             $20,390           $28,360        $11,549
  Arkansas               SMRF / MAX     1992-2001           32,661           34,413          $2,091,702        $2,861,483     $1,532,739           9,537
  Arkansas                 SDUD           1991               427              527             $11,494           $20,205         $8,634
   Virginia              SMRF / MAX     1999-2001           20,053           21,369           $796,867         $1,171,164      $411,807            4,748
   Virginia                SDUD         1991-1998           38,231           40,808           $986,933         $1,381,656      $501,870
 Washington              SMRF / MAX     1992-2001           53,125           56,109          $1,725,678        $2,418,868      $896,904           12,444
 Washington                SDUD           1991               1,669            2,063           $44,831           $92,451         $24,303
  Alabama                SMRF / MAX   1992-95,1999-01       27,016           28,514           $950,328         $1,402,565      $665,019            4,868
  Alabama                  SDUD        1991,1996-98         11,218           11,778           $613,960          $800,957       $427,538
    Texas                SMRF / MAX     1999-2001           25,976           27,633           $445,888          $711,035       $275,230           10,924
    Texas                  SDUD         1991-1998           33,681           34,914          $1,028,027        $1,385,016      $647,844
 Connecticut             SMRF / MAX     1999-2001           15,672           16,532           $669,467          $952,276       $334,734            1,668
 Connecticut               SDUD         1991-1998           16,507           17,355           $775,840         $1,020,758      $387,920
Massachusetts            SMRF / MAX     1999-2001           23,643           25,027           $879,875         $1,314,523      $439,937            7,245
Massachusetts              SDUD         1991-1998           13,440           13,952           $476,952          $614,293       $238,476
 Mississippi             SMRF / MAX     1993-2001           22,136           23,262          $1,897,069        $2,556,485     $1,465,927           5,828
 Mississippi               SDUD         1991-1992            728              761             $15,581           $23,900        $12,461
South Carolina           SMRF / MAX     1999-2001            2,809           2,982            $289,061          $428,294       $202,237            1,175
South Carolina             SDUD         1991-1998            3,134           3,317           $1,068,745        $1,503,505      $755,351
  Colorado               SMRF / MAX     1994-2001           32,904           34,589          $1,575,437        $2,214,308      $812,481            6,642
  Colorado                 SDUD         1991-1993            4,009            4,235           $130,144          $177,121        $70,868
  Maryland               SMRF / MAX     1999-2001           23,463           24,517           $280,994          $453,759       $140,497            3,242
  Maryland                 SDUD         1991-1998           44,918           47,398          $1,006,703        $1,419,412      $503,351
  Oklahoma               SMRF / MAX     1999-2001           19,766           20,675           $651,574          $892,326       $462,578            4,467
  Oklahoma                 SDUD         1991-1998           19,290           20,044           $572,390          $756,404       $401,679
West Virginia            SMRF / MAX     1999-2001            9,008           9,554            $593,159          $885,134       $443,135            2,669
West Virginia              SDUD         1991-1998            7,207           7,509            $354,305          $467,998       $261,214
  Minnesota              SMRF / MAX     1993-2001           30,781           32,459           $703,661         $1,009,694      $372,243           11,989
  Minnesota                SDUD         1991-1992            4,678            5,366            $56,197          $106,800        $30,367
   Oregon                SMRF / MAX     1999-2001            5,029            5,360           $154,109          $222,648        $92,942            1,733
   Oregon                  SDUD         1991-1998           18,826           19,846           $569,411          $793,901       $353,024
    Utah                 SMRF / MAX     1992-2001           25,290           27,122           $614,549          $892,038       $446,942            4,634
    Utah                   SDUD           1991               647              701              $27,184           $37,817        $20,358
                 Total                  1991-2001          715,103          755,687          $29,773,005       $41,757,276    $18,255,145         116,505
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                                                          Table 27B: Medicaid Summary for States 31 through 49
     State                 Source       Time Period     # Clms w/DIFF>0     # Claims       Aggregate DIFF    Total MCD Paid   Federal DIFF   # Pharm. Payments
    Nevada               SMRF / MAX     1999-2001            3,151            3,333           $313,653           $422,338      $156,916            711
    Nevada                 SDUD         1991-1998            2,413            2,601           $230,364           $327,451      $115,912
   Nebraska              SMRF / MAX     1999-2001            6,286            6,629           $183,483           $273,719      $112,073            2,250
   Nebraska                SDUD         1991-1998           12,779           13,484           $349,284           $484,720      $212,924
    Kansas               SMRF / MAX     1992-2001           24,239           25,749           $539,427           $826,369      $319,822            5,416
    Kansas                 SDUD           1991               521              733              $3,784             $10,510       $2,170
     Iowa                SMRF / MAX     1992-2001           21,315           22,714           $748,339           $1,061,276    $473,722            8,249
     Iowa                  SDUD           1991               682              864              $20,242            $32,121       $12,835
 South Dakota            SMRF / MAX     1999-2001            3,523            3,716           $121,249           $173,158       $82,919            1,018
 South Dakota              SDUD         1991-1998            7,492            7,816           $199,782           $269,774      $134,959
  Rhode Island           SMRF / MAX    1995,1999-01          3,320            3,544           $146,362           $224,157       $79,411            548
  Rhode Island             SDUD       1991-94,1996-98        2,921            3,054           $162,159           $205,523       $86,912
    Montana              SMRF / MAX     1992-2001            6,811            7,204           $232,208           $327,431      $164,312            1,914
    Montana                SDUD           1991                128              171             $4,709             $7,883        $3,378
     Hawaii              SMRF / MAX   1999-01,1992-93        4,676            5,003            $42,857            $72,730       $21,989            451
     Hawaii                SDUD        1991,1994-98          5,074            5,527           $141,798           $198,849       $70,989
     Maine               SMRF / MAX     1992-2001            5,101            5,419           $257,479           $364,368      $167,290            2,437
     Maine                 SDUD           1991                 48               81             $1,659             $3,021        $1,054
   Wyoming               SMRF / MAX     1992-2001            5,010            5,235           $256,674           $360,392      $162,206            1,873
   Wyoming                 SDUD           1991                 12               21              $350               $615          $239
   Tennessee               SDUD         1991-1994            863              918             $81,949            $116,412       $55,695
   Delaware              SMRF / MAX     1993-2001            5,962            6,381           $206,399           $305,021      $103,282            1,299
   Delaware                SDUD         1991-1992             171              221             $4,375             $8,418        $2,189
  North Dakota           SMRF / MAX     1992-2001            3,174            3,362           $147,621           $222,881      $103,241            1,925
  North Dakota             SDUD           1991                 82               95             $1,359             $2,628         $951
     Idaho               SMRF / MAX     1996-2001            176              180             $20,409             $27,036       $14,085            184
     Idaho                 SDUD         1991-1995             80               85             $25,988             $38,046       $18,538
New Hampshire            SMRF / MAX     1992-2001            3,424            3,607           $74,806            $112,152       $37,403            1,496
New Hampshire              SDUD           1991                 47               89             $760               $2,151         $380
  New Mexico             SMRF / MAX     1996-2001            554              590             $20,076             $27,284       $14,615            559
  New Mexico               SDUD         1991-1995            415              453             $4,812              $7,921        $3,548
    Alaska               SMRF / MAX     1992-2001            2,280            2,456           $37,159             $59,789       $19,485            578
    Alaska                 SDUD           1991                 26               38             $302                $765          $151
    Vermont              SMRF / MAX     1992-2001            1,683            1,797           $42,645             $63,732       $26,400            422
    Vermont                SDUD           1991                157              192            $1,806              $4,702        $1,119
Washington, D.C.         SMRF / MAX     1999-2001            436              458             $15,415             $23,509       $7,708             246
Washington, D.C.           SDUD         1991-1998            962              994             $18,654             $25,640       $9,327
                 Total                  1991-2001          130,430           138,880         $4,116,380          $5,944,703   $2,527,321          30,865
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                                 Table A: Total Number of Claims and Line Items in CHIP Data: All Clients and Abbott Only
                                         All Clients                                                          Abbott Only

Yr-Quarter   # Claims     # Line Items       Total Billed      Total Paid       # Claims     # Line Items   Total Billed      Total Paid        Abbott Share

  19901              47           437               $173,354         $94,370            29            381         $116,514           $55,226           58.5%
  19902              67         1,762               $281,066        $121,519            57          1,633         $255,406          $110,177           90.7%
  19903             154         1,736               $412,872        $167,937           111          1,439         $332,141          $138,566           82.5%
  19904             356         5,018             $1,215,182        $431,671           187          2,706         $883,206          $281,339           65.2%
  19911             662         8,263             $1,796,435        $778,126           351          4,478       $1,202,485          $472,762           60.8%
  19912           1,360        15,072             $3,914,608      $1,674,322           686          8,742       $2,509,630        $1,004,541           60.0%
  19913           3,275        41,929             $9,632,801      $4,655,946         1,507         21,591       $5,023,214        $2,251,414           48.4%
  19914           8,011        96,119            $19,802,433     $10,812,743         3,319         48,371       $9,715,675        $5,189,572           48.0%
  19921          11,434       120,325            $24,869,932     $13,718,104         4,537         59,849      $11,940,865        $6,577,474           47.9%
  19922          11,683       136,062            $25,473,375     $14,471,795         4,782         57,637      $11,823,324        $6,635,717           45.9%
  19923          13,396       158,314            $29,525,456     $16,317,450         5,472         67,435      $13,461,749        $7,384,773           45.3%
  19924          14,442       174,106            $31,371,201     $17,724,772         5,827         74,279      $13,254,334        $7,809,348           44.1%
  19931          14,560       167,942            $29,366,365     $16,402,104         5,445         65,799      $11,307,385        $6,630,449           40.4%
  19932          15,116       180,662            $29,593,732     $15,977,106         5,232         64,656      $10,414,497        $6,566,971           41.1%
  19933          14,137       186,281            $28,048,436     $16,115,351         4,713         59,012       $9,715,769        $6,230,510           38.7%
  19934          15,273       187,104            $26,784,935     $15,219,134         4,196         50,841       $8,076,268        $5,287,752           34.7%
  19941          12,814       152,130            $21,489,038     $10,549,126         2,658         31,317       $5,798,689        $3,204,799           30.4%
  19942          12,282       149,532            $21,012,512      $9,885,335         2,441         34,880       $6,315,646        $3,272,879           33.1%
  19943          13,015       161,978            $22,750,036     $10,457,018         2,380         31,619       $5,852,759        $3,144,020           30.1%
  19944          13,841       178,793            $24,603,725     $11,140,351         2,567         34,778       $6,224,689        $3,593,561           32.3%
  19951          16,867       202,779            $29,107,520     $12,228,528         3,108         43,378       $7,141,472        $4,078,348           33.4%
  19952          20,463       236,520            $34,897,330     $14,231,312         3,675         48,238       $8,190,347        $4,510,088           31.7%
  19953          20,794       274,075            $37,174,636     $15,318,542         4,158         59,256       $9,439,186        $5,109,410           33.4%
  19954          23,266       299,355            $39,612,668     $16,891,388         5,186         78,601      $11,044,525        $5,976,621           35.4%
  19961          26,394       328,215            $44,006,352     $17,954,527         5,308         83,197      $11,992,965        $6,471,739           36.0%
  19962          26,883       335,611            $42,020,654     $17,337,510         5,337         84,767      $11,431,461        $6,087,389           35.1%
  19963          28,619       351,586            $44,572,580     $17,848,615         5,204         85,282      $11,814,298        $6,247,331           35.0%
  19964          32,613       375,141            $47,185,405     $18,479,390         4,966         80,956      $11,659,209        $5,927,769           32.1%
  19971          37,696       410,461            $56,299,604     $20,725,693         5,001         77,360      $11,971,486        $6,268,861           30.2%
  19972          40,285       455,743            $58,096,370     $21,461,021         4,847         68,588       $9,764,379        $5,075,492           23.6%
  19973          45,718       493,419            $62,195,909     $22,180,165         4,537         64,302       $9,316,798        $4,795,406           21.6%
  19974          55,017       514,807            $62,459,872     $22,087,722         4,224         56,857       $8,804,977        $4,470,366           20.2%
  19981          59,116       526,485            $66,168,029     $22,280,910         3,818         47,853       $7,454,055        $3,690,861           16.6%
  19982          65,779       583,896            $77,559,927     $23,142,874         3,352         44,299       $6,811,953        $3,316,508           14.3%
  19983          60,282       627,213            $79,105,097     $23,900,603         3,516         43,873       $7,252,251        $3,377,657           14.1%
  19984          47,094       622,722            $79,339,259     $23,338,923         3,296         42,057       $6,787,513        $3,259,013           14.0%
  19991          42,633       555,722            $70,890,807     $21,454,031         2,339         26,735       $4,709,198        $2,271,951           10.6%
  19992          38,122       496,599            $65,336,425     $19,259,144           968         11,927       $2,404,282        $1,167,382            6.1%
  19993          31,208       479,971            $64,816,567     $18,746,097            19             71         $203,025           $78,842            0.4%
  19994          30,612       494,357            $65,322,181     $19,511,800            19            115         $436,897          $192,511            1.0%
  20001          28,952       445,088            $63,004,148     $18,942,334            15             68         $326,233          $114,465            0.6%
  20002          27,171       420,201            $56,265,686     $16,752,172             4             39          $77,571            $5,788            0.0%
  20003          23,784       383,600            $53,868,457     $15,809,795             1             18                 -                 -              -
  20004          20,756       333,126            $43,341,533     $11,642,555             -              -                 -                 -              -
  20011          16,322       257,281            $33,115,441      $9,993,068             -              -                 -                 -              -
  20012          15,276       239,086            $30,533,248      $8,446,058             -              -                 -                 -              -
  20013           9,547       168,518            $18,488,614      $3,364,884             -              -                 -                 -              -
  20014           3,070        52,383             $8,979,755      $1,852,712             -              -                 -                 -              -

  Total       1,070,264     13,087,525        $1,785,881,567    $661,896,653       129,395      1,769,280     $293,258,324     $158,335,648           23.92%
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                   Table B: Total Number of Medicaid Claims with 1+ Complaint Line Item in CHIP Data: All Clients and Abbott Only
                                         All Clients                                                         Abbott Only
Yr-Quarter   # Claims     # Line Items       Total Billed      Total Paid      # Claims     # Line Items   Total Billed     Total Paid      Abbott Share
  19911               3            143               $35,337         $10,390           -               -                -               -              -
  19912              17            412               $77,287         $15,688           -               -                -               -              -
  19913              33            830              $187,389         $51,392           -               -                -               -              -
  19914              90          2,601              $447,681        $142,551           -               -                -               -              -
  19921             101          2,767              $414,221        $105,354           -               -                -               -              -
  19922              97          2,639              $480,006        $120,219           -               -                -               -              -
  19923             112          3,200              $609,479        $165,552           4              59          $13,091          $5,220           3.2%
  19924             115          2,927              $507,084        $143,329           8             119          $20,384         $10,514           7.3%
  19931             102          2,606              $472,215        $104,672          11             199          $33,324         $13,242          12.7%
  19932             139          3,442              $737,991        $146,717           7             101          $20,490          $5,544           3.8%
  19933             142          3,752              $657,640        $156,095           7             144          $24,861          $5,084           3.3%
  19934             202          5,390              $969,171        $228,811          34           1,210         $211,600         $64,306          28.1%
  19941             292          7,807            $1,362,997        $304,325          65           2,411         $457,626        $132,161          43.4%
  19942             340          9,417            $1,648,345        $354,263          78           2,768         $484,515        $139,909          39.5%
  19943             376         10,556            $1,736,406        $359,464          73           2,287         $435,225        $128,739          35.8%
  19944             459         13,489            $2,356,853        $420,813          99           3,025         $530,245        $119,895          28.5%
  19951             649         17,667            $3,041,081        $581,648         122           4,028         $664,115        $166,589          28.6%
  19952             854         21,656            $4,037,132        $717,143         167           5,372         $915,838        $192,899          26.9%
  19953             835         24,335            $4,227,129        $818,928         169           5,612       $1,035,803        $239,947          29.3%
  19954             699         19,823            $3,354,118        $702,280         186           5,363         $934,967        $275,849          39.3%
  19961             766         20,588            $3,823,183        $812,289         231           7,769       $1,405,680        $383,204          47.2%
  19962             784         23,626            $3,754,205        $803,727         225           7,531       $1,279,430        $329,881          41.0%
  19963             760         20,806            $3,120,752        $659,548         194           5,623         $940,492        $253,160          38.4%
  19964             777         21,153            $3,311,091        $620,618         231           7,208       $1,223,851        $327,572          52.8%
  19971             832         22,693            $3,723,685        $696,800         194           5,852       $1,037,776        $297,135          42.6%
  19972             888         26,115            $4,308,370        $909,410         175           5,105       $1,053,189        $354,366          39.0%
  19973           1,270         35,106            $6,156,650      $1,321,796         208           7,247       $1,449,286        $453,497          34.3%
  19974           1,722         36,624            $6,363,860      $1,103,515         208           7,606       $1,535,304        $486,764          44.1%
  19981           1,809         38,563            $7,652,368      $1,965,605         140           4,575         $909,235        $278,139          14.2%
  19982           2,142         42,652            $6,439,166      $1,166,686          87           2,918         $535,298        $156,073          13.4%
  19983           2,210         44,068            $6,670,653      $1,087,698          91           2,752         $659,833        $191,842          17.6%
  19984           1,939         37,932            $5,898,788        $957,499          86           2,393         $577,031        $173,463          18.1%
  19991           1,670         34,993            $5,077,684      $1,001,054          63           1,491         $352,651        $101,449          10.1%
  19992           1,173         28,985            $4,271,103        $916,711          21             719         $188,842         $55,173           6.0%
  19993             835         21,841            $3,353,999        $672,282           -               -                -               -              -
  19994           1,049         25,569            $3,845,864        $669,243           -               -                -               -              -
  20001             759         16,219            $2,713,394        $699,193           -               -                -               -              -
  20002             454         11,664            $1,667,748        $469,767           -               -                -               -              -
  20003             258          7,154              $995,477        $268,827           -               -                -               -              -
  20004             223          5,635              $844,550        $227,444           -               -                -               -              -
  20011             265          6,619              $869,054        $204,336           -               -                -               -              -
  20012             142          3,122              $477,334        $148,166           -               -                -               -              -
  20013             108          2,361              $513,576         $71,015           -               -                -               -              -
  20014               6            264               $32,020              $0           -               -                -               -              -
  Total          28,498       689,811           $113,244,135     $23,102,865        3,184       101,487       $18,929,980      $5,341,613         23.12%
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                   Table C: Total Number of Medicare Claims with 1+ Complaint Line Item in CHIP Data: All Clients and Abbott Only

                                          All Clients                                                         Abbott Only

Yr-Quarter   # Claims      # Line Items       Total Billed      Total Paid      # Claims     # Line Items   Total Billed     Total Paid      Abbott Share

  19911               4             137               $27,251          $8,487           -               -                -               -              -
  19912               6             117               $23,212          $5,896           -               -                -               -              -
  19913              26             635             $148,128          $52,800           -               -                -               -              -
  19914              52           1,364             $242,257          $84,479           -               -                -               -              -
  19921              42           1,145             $290,227         $105,404           1              36          $19,260          $5,813           5.5%
  19922              50           1,621             $354,116         $123,870           -               -                -               -              -
  19923              71           1,956             $513,110         $187,344           2              72          $46,609         $14,416           7.7%
  19924              47           1,085             $290,229         $101,598           1              29          $15,884          $4,223           4.2%
  19931              43             939             $240,316          $86,019           5             142          $81,657         $19,728          22.9%
  19932              46           1,277             $391,608         $125,496           8             216        $119,300          $34,910          27.8%
  19933              59           1,679             $484,462         $149,414           3             127          $94,898         $29,315          19.6%
  19934             110           2,575             $668,788         $216,900          13             370        $176,272          $53,539          24.7%
  19941             149           3,244             $763,752         $196,294          10             205        $111,938          $30,613          15.6%
  19942             221           3,956             $941,836         $245,531          15             423        $176,896          $39,872          16.2%
  19943             204           5,283            $1,274,047        $307,048          31             986        $245,179          $69,300          22.6%
  19944             332           8,094            $2,006,343        $465,764          69           2,269        $595,732         $168,352          36.1%
  19951             418           9,638            $2,253,831        $555,442         100           3,220        $757,599         $240,552          43.3%
  19952             536          12,593            $2,818,951        $566,003         128           3,619        $757,146         $169,964          30.0%
  19953             603          16,421            $3,871,402        $774,653         171           5,450       $1,118,903        $286,981          37.0%
  19954             649          17,962            $4,023,620        $845,753         222           7,531       $1,418,965        $385,741          45.6%
  19961             744          18,844            $4,502,311        $915,071         244           7,390       $1,595,145        $445,285          48.7%
  19962             663          19,760            $4,175,143        $871,010         255           8,622       $1,763,191        $431,970          49.6%
  19963             668          19,313            $3,916,747        $785,181         239           7,696       $1,469,236        $353,110          45.0%
  19964             576          15,875            $3,486,686        $660,071         207           6,362       $1,287,619        $291,616          44.2%
  19971             710          19,114            $4,738,567        $900,853         205           6,005       $1,461,924        $400,055          44.4%
  19972             861          24,051            $4,778,160        $996,367         162           4,709       $1,167,218        $327,240          32.8%
  19973           1,148          27,764            $5,063,143        $867,003         130           3,779       $1,015,592        $269,098          31.0%
  19974           1,457          30,479            $4,928,167        $856,088         117           3,029        $965,397         $257,361          30.1%
  19981           1,394          29,743            $4,783,369        $814,592          96           2,732        $881,214         $232,076          28.5%
  19982           1,739          38,813            $5,600,014        $970,267          98           3,243       $1,169,785        $354,138          36.5%
  19983           1,787          37,168            $5,705,180        $934,939         106           3,836       $1,315,070        $368,377          39.4%
  19984           2,218          44,599            $5,626,218        $851,816          93           2,960        $964,464         $246,788          29.0%
  19991           1,935          40,698            $4,888,746        $724,282          76           2,267        $651,579         $106,697          14.7%
  19992           1,879          37,791            $4,917,191        $676,618          56           1,271        $291,447          $38,218           5.6%
  19993           1,768          36,924            $6,009,270        $815,094           -               -                -               -              -
  19994           1,565          35,337            $5,266,932        $787,663           -               -                -               -              -
  20001           1,353          27,106            $3,958,007        $673,826           -               -                -               -              -
  20002           1,211          23,666            $3,507,925        $551,737           -               -                -               -              -
  20003             850          18,286            $2,985,527        $597,724           -               -                -               -              -
  20004             847          16,656            $2,805,932        $736,807           -               -                -               -              -
  20011             870          15,597            $2,459,580        $588,270           -               -                -               -              -
  20012             655          10,902            $2,361,178        $809,725           -               -                -               -              -
  20013             283           5,149             $985,165          $61,988           -               -                -               -              -
  20014              13             310               $41,673          $1,346           -               -                -               -              -

  Total          30,862        685,666           $119,118,316     $22,652,533        2,863         88,596      $21,735,119      $5,675,347         25.05%
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             Table D: Total Number of Medicaid Claims and Line Items for Abbott Complaint Products in CHIP Data: All Clients and Abbott Only
                                            All Clients                                                            Abbott Only
Yr-Quarter      # Claims     # Line Items       Total Billed         Total Paid      # Claims     # Line Items   Total Billed     Total Paid       Abbott Share
  19911                  3              7                      $19              $6           -              -                 -                -              -
  19912                 17             31                   $3,196            $676           -              -                 -                -              -
  19913                 33             53                   $2,414            $608           -              -                 -                -              -
  19914                 90            182                   $2,304            $680           -              -                 -                -              -
  19921                101            169                   $2,511            $847           -              -                 -                -              -
  19922                 97            177                   $3,829          $1,407           -              -                 -                -              -
  19923                112            209                   $6,872          $1,798           4              4              $568             $203          11.3%
  19924                115            203                   $7,485          $2,478           8             10            $2,757           $1,439          58.1%
  19931                102            170                  $10,698          $3,005          11             16            $3,287           $1,518          50.5%
  19932                139            214                  $10,304          $1,582           7              9              $596             $178          11.2%
  19933                142            261                  $14,176          $2,523           7             10              $971             $236           9.4%
  19934                202            335                  $11,900          $2,541          34             56            $3,066           $1,335          52.5%
  19941                292            520                  $12,151          $2,200          65            128            $2,915             $869          39.5%
  19942                340            625                  $13,880          $3,631          78            159            $3,768           $1,341          36.9%
  19943                376            828                  $22,614          $3,644          73            156            $3,721           $1,245          34.2%
  19944                459          1,082                  $40,477          $6,524          99            210           $10,427           $2,576          39.5%
  19951                649          1,334                  $44,611          $9,868         122            247           $14,159           $4,209          42.6%
  19952                854          1,745                  $64,579         $11,740         167            327           $16,274           $3,747          31.9%
  19953                835          1,853                  $91,461         $14,262         169            331           $23,557           $5,126          35.9%
  19954                699          1,401                  $75,108         $12,827         186            322           $24,625           $6,818          53.1%
  19961                766          1,499                  $87,581         $18,991         231            471           $37,852           $9,562          50.4%
  19962                784          1,662                  $85,135         $18,378         225            458           $32,788           $8,728          47.5%
  19963                760          1,604                  $83,077         $13,549         194            375           $28,383           $6,267          46.3%
  19964                777          1,618                  $79,599         $13,109         231            466           $34,885           $8,109          61.9%
  19971                832          1,825                  $88,876         $13,242         194            403           $31,093           $7,184          54.2%
  19972                888          2,132                  $91,029         $17,887         175            326           $22,987           $6,271          35.1%
  19973              1,270          3,047                 $137,351         $20,261         208            423           $32,018           $8,269          40.8%
  19974              1,722          3,508                 $182,709         $20,205         208            408           $26,619           $7,020          34.7%
  19981              1,809          3,715                 $159,579         $18,502         140            250           $18,077           $4,685          25.3%
  19982              2,142          4,380                 $199,448         $22,698          87            174           $13,814           $3,970          17.5%
  19983              2,210          4,367                 $203,340         $25,544          91            148           $13,450           $4,289          16.8%
  19984              1,939          3,854                 $184,930         $20,963          86            132            $9,602           $2,818          13.4%
  19991              1,670          3,631                 $134,258         $15,816          63            100            $6,156           $1,989          12.6%
  19992              1,173          2,847                 $102,650         $15,564          21             41            $2,957             $864           5.5%
  19993                835          2,191                  $98,225         $13,178           -              -                 -                -              -
  19994              1,049          2,789                 $132,608         $15,302           -              -                 -                -              -
  20001                759          1,891                  $80,276         $17,978           -              -                 -                -              -
  20002                454          1,338                  $64,914         $15,653           -              -                 -                -              -
  20003                258            654                  $28,861          $5,255           -              -                 -                -              -
  20004                223            576                  $24,137          $4,755           -              -                 -                -              -
  20011                265            715                  $30,407          $5,532           -              -                 -                -              -
  20012                142            342                  $14,262          $3,078           -              -                 -                -              -
  20013                108            231                  $16,155            $928           -              -                 -                -              -
  20014                  6             17                   $2,077              $0           -              -                 -                -              -
  Total             28,498         61,832            $2,752,072           $419,215        3,184          6,160         $421,373        $110,860          26.44%
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             Table E: Total Number of Medicare Claims and Line Items for Abbott Complaint Products in CHIP Data: All Clients and Abbott Only
                                            All Clients                                                            Abbott Only
Yr-Quarter      # Claims     # Line Items       Total Billed         Total Paid      # Claims     # Line Items   Total Billed     Total Paid      Abbott Share
  19911                  4              7                      $40              $4           -              -                 -               -              -
  19912                  6              7                     $648            $503           -              -                 -               -              -
  19913                 26             49                   $5,601          $3,903           -              -                 -               -              -
  19914                 52            124                  $50,026         $21,198           -              -                 -               -              -
  19921                 42             83                  $40,403         $21,772           1              1                 -               -              -
  19922                 50            129                  $56,063         $31,721           -              -                 -               -              -
  19923                 71            151                  $66,086         $12,596           2              3               $96             $36           0.3%
  19924                 47             97                  $32,044         $15,958           1              2               $43             $17           0.1%
  19931                 43             67                  $30,048          $7,248           5              8            $1,261            $588           8.1%
  19932                 46             88                  $53,274          $8,978           8             16            $7,031          $2,500          27.8%
  19933                 59            119                  $81,131         $10,445           3              8            $2,528          $1,298          12.4%
  19934                110            174                 $119,643         $26,786          13             19            $3,354          $1,324           4.9%
  19941                149            239                 $121,912         $22,554          10             17            $3,225          $1,336           5.9%
  19942                221            311                 $172,704         $36,934          15             31            $5,730          $2,231           6.0%
  19943                204            430                 $189,284         $50,039          31             74           $10,631          $4,170           8.3%
  19944                332            655                 $282,401         $73,429          69            200           $16,032          $4,061           5.5%
  19951                418            847                 $337,816         $86,659         100            290           $26,831          $7,930           9.2%
  19952                536          1,256                 $493,531        $111,512         128            361           $50,715         $11,977          10.7%
  19953                603          1,588                 $565,852        $132,771         171            565           $83,290         $16,862          12.7%
  19954                649          1,613                 $620,359        $117,388         222            689          $100,998         $22,379          19.1%
  19961                744          1,873                 $629,939        $146,344         244            740           $97,584         $32,818          22.4%
  19962                663          2,034                 $588,327        $140,714         255            905          $118,083         $33,361          23.7%
  19963                668          2,053                 $579,989         $99,727         239            810           $82,160         $19,640          19.7%
  19964                576          1,522                 $347,111         $63,936         207            600           $57,200         $10,700          16.7%
  19971                710          1,730                 $397,466         $54,384         205            543           $51,091         $13,108          24.1%
  19972                861          2,293                 $510,554         $97,768         162            449           $55,147         $16,955          17.3%
  19973              1,148          3,056                 $498,076        $107,336         130            401           $55,642         $19,691          18.3%
  19974              1,457          3,783                 $465,965         $75,616         117            291           $37,820          $9,542          12.6%
  19981              1,394          3,893                 $462,683         $71,711          96            203           $19,199          $3,925           5.5%
  19982              1,739          5,018                 $416,779         $66,940          98            274           $28,826          $6,542           9.8%
  19983              1,787          4,829                 $448,333         $80,348         106            382           $34,165         $11,580          14.4%
  19984              2,218          5,430                 $511,389         $81,666          93            231           $29,757          $4,284           5.2%
  19991              1,935          4,512                 $561,322         $85,999          76            225           $34,140          $6,355           7.4%
  19992              1,879          4,090                 $548,962         $81,626          56            146           $29,417          $4,430           5.4%
  19993              1,768          3,876                 $740,440        $107,981           -              -                 -               -              -
  19994              1,565          4,039                 $555,496         $76,140           -              -                 -               -              -
  20001              1,353          3,065                 $420,168         $68,291           -              -                 -               -              -
  20002              1,211          2,887                 $314,525         $57,776           -              -                 -               -              -
  20003                850          2,246                 $264,631         $63,265           -              -                 -               -              -
  20004                847          1,929                 $175,913         $31,100           -              -                 -               -              -
  20011                870          1,899                 $128,354         $20,871           -              -                 -               -              -
  20012                655          1,331                 $107,259         $22,790           -              -                 -               -              -
  20013                283            634                  $70,094          $1,965           -              -                 -               -              -
  20014                 13             30                  $10,084            $735           -              -                 -               -              -
  Total             30,862         76,086           $13,072,725         $2,497,428        2,863          8,484       $1,041,995        $269,639         10.80%
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              Table F: Billed Amount versus AWP for Complaint Products

                 All Clients                                   Abbott Only

    NDC        Unweighted        Unweighted        NDC        Unweighted       Unweighted
              average billed    average FDB                  average billed   average FDB
               amount per       package AWP                   amount per      package AWP
                package                                        package
00074196607              3.94           1.98   00074196607
00074397703              2.66           2.15   00074397703
00074433201             66.01          31.19   00074433201            66.01          29.36
00074488710              2.00           1.50   00074488710             1.66           1.46
00074488720              1.51           1.72   00074488720
00074488750              2.80           2.72   00074488750
00074488810              2.10           1.69   00074488810             2.19           1.63
00074488820              1.93           1.94   00074488820
00074613802             27.00          13.39   00074613802
00074613803             25.40          12.93   00074613803            25.26          12.82
00074613822             27.00          14.75   00074613822
00074613902              2.70          11.74   00074613902
00074613903             27.00          12.33   00074613903            27.00          12.33
00074653301             81.65          67.92   00074653301            76.33          69.33
00074653501             89.84          23.60   00074653501
00074710013             16.30          13.18   00074710013
00074710023             16.00          12.80   00074710023
00074710102             20.15          15.44   00074710102
00074710113             16.29          12.77   00074710113
00074710123             14.61          12.61   00074710123
00074712007                                    00074712007
00074713809             17.02          14.81   00074713809
00074713909             19.20          14.08   00074713909            27.00          15.11
00074790209             30.05          19.50   00074790209
00074792202             15.76          11.14   00074792202
00074792203             24.06          10.18   00074792203            27.00           9.71
00074792209             19.50          12.31   00074792209
00074792336             15.05          11.13   00074792336            14.20          10.98
00074792337             15.33          11.08   00074792337            14.20          10.66
00074792409             17.09          13.21   00074792409
00074792609             19.80          13.36   00074792609
00074794109             23.49          13.29   00074794109
00074797205             11.30           7.19   00074797205            11.30           7.06
00074797305             27.00           8.42   00074797305
00074798302             17.60          10.69   00074798302
00074798303             16.81          10.35   00074798303            27.00           9.56
00074798309             20.56          11.49   00074798309
00074798436             14.44          11.10   00074798436            14.20          10.65
00074798437             14.63          11.31   00074798437            14.20          11.11
00074798509             20.41          12.49   00074798509
